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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANTHONY VILLAR : CIVIL ACTION
Plaintiff :
NO. 14-2558
v.

PHILADELPHIA UNIVERSITY, et al.
Defendants

ORDER
AND NOW, this 29" day of October 2014, upon consideration of Defendant
Philadelphia University’s motion to dismiss Plaintiff's claims against it for failure to state a
claim upon which relief can be granted pursuant to Federal Rule of Civil Procedure 12(b)(6),
[ECF 14], Plaintiffs response in opposition thereto, [ECF 20], and the reply, [ECF 24], it is
hereby ORDERED that the motion to dismiss is DENIED. Further, Defendant is directed to file

an answer to Plaintiff's amended complaint within fourteen (14) days of the entry of this Order.

BY THE COURT:

NITZA I. QUINONES ALEJANDRO, J. yO

 
